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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      §
                                              §
                                              §
v.                                            §         Case No. 21-CR-00022-KBJ
                                              §
                                              §
CHRISTOPHER RAY GRIDER,                       §
                                              §
        Defendant                             §

          DEFENDANT’S MOTION TO REVOKE DETENTION ORDER

TO THE HONORABLE KETANJI BROWN JACKSON, UNITED STATES DIS-
TRICT COURT JUDGE FOR THE DISTRICT OF COLUMBIA:

        COMES NOW CHRISTOPHER RAY GRIDER, the Defendant in the above

styled and numbered cause, by and through undersigned counsel, and, pursuant to

18 U.S.C. § 3145(b), moves this Court to revoke the Order of Detention Pending Trial

entered by United States Magistrate Judge for the Western District of Texas, Austin

Division, Susan Hightower, on January 27, 2021.

Background and Procedural History

1. Mr. Grider was charged by complaint with the offenses of destruction of govern-

     ment property in violation of 18 U.S.C. § 1361, unlawful entry into a restricted

     building or grounds in violation of 18 U.S.C. § 1752 (a)(1) and (b), and violent entry

     and disorderly conduct on Capitol grounds in violation of 40 U.S.C. § 5104(e)(2).

     (Doc. No. 1). Based on the complaint, Magistrate Judge Robin Meriwether issued

     an arrest warrant for Mr. Grider on January 20, 2021. (Doc. No. 1 in Case No. 21-




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    mj-00138).1

2. The following day, January 21, 2021, Mr. Grider self-surrendered himself to the

    FBI in Austin, Texas and was placed into the custody of the U.S. Marshals Service.

    See Pretrial Services Report (Amended 1/26/2021) at 1.2

3. The following day, January 22, 2021, Mr. Grider appeared before United States

    Magistrate Judge for the Western District of Texas, Austin Division, Susan High-

    tower, for his initial appearance. There, the Government moved for Mr. Grider’s

    pretrial detention under 18 U.S.C. § 3141(f) on the basis that they believed that

    no condition or combination of conditions would reasonably assure Mr. Grider’s

    appearance, as well as assure the safety of the community or any other person.

    (Doc. No. 2 in Case No. 21-mj-00033-SH in the Western District of Texas, Austin

    Div.).3 Accordingly, Judge Hightower ordered that Mr. Grider be detained tempo-

    rarily and scheduled a detention hearing to be held on January 27, 2021. (Doc. No.

    7 in Case No. 21-mj-00033-SH in the Western District of Texas, Austin Div.).

4. On January 25, 2021, the U.S. Pretrial Services Officer assigned to Mr. Grider’s

    case completed her investigation into his case and issued a report, followed with



1 Mr. Grider was subsequently indicted in the above styled and numbered cause for those and addi-
tional, related offenses on January 26, 2021. (Doc. No. 6).
2 Pursuant to Local Rule 57.1 for the Western District of Texas, Pretrial Services Reports are made
available to Defense Counsel and the Government, however, the reports are not public record, are not
to be reproduced or disclosed to any other party and shall remain confidential as provided in Title 18
U.S.C. § 3153(c)(1). Accordingly, Mr. Grider is not including the Pretrial Services Report in this filing
and is requesting this Court obtain that report on its own or grant him leave to submit that under seal
to this Court to review the information contained therein.
3Several motions filed by the parties and orders entered by Judge Hightower were not included with
the Rule 5 documents filed with this Court under Docket No. 5. Accordingly, Mr. Grider is citing this
Court to the filings in Case No. 21-mj-00033-SH in the Western District of Texas, Austin Division
where appropriate and including some of the filings as exhibits to this motion.

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   an amended report on January 26, 2021. Among other things, the report reflected

   the following:

      a. Mr. Grider is the married father of three sons (ages 14, 10, and 3) who lives

         with his wife on property they own in Eddy, Texas in the central part of

         Texas.

      b. Mr. Grider is self-employed as a winemaker who owns a vineyard and vine-

         yard store in Eddy. He had previously worked as a teacher in various school

         districts throughout Texas, as well as a security guard, and in retail.

      c. Mr. Grider served in the United States Army National Guard from May

         1999 to October 2001 and in the United States Air Force as a security forces

         official from October 2001 until May 2004.

      d. Mr. Grider reported that he has, among other conditions, asthma and is

         prescribed albuterol to control that condition.

      e. Mr. Grider’s only prior criminal history included an arrest for reckless driv-

         ing in 2000 when he was 19 years old and an arrest for public intoxication

         in 2017. In regard to the reckless driving case, he completed 3 months of

         probation. There was (and is) no further record of any acts of violence or

         allegations of violence in his criminal history.

5. Based on the foregoing — and not surprisingly given the findings of her investi-

   gation — the Pretrial Services Officer recommended that Mr. Grider be released

   on a $10,000 unsecured bond with standard conditions of supervision.




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6. Mr. Grider followed up to the report with his own memorandum in support of pre-

   trial release. (Doc. No. 12 in Case No. 21-mj-00033-SH in the Western District of

   Texas, Austin Div., filed under seal). In that memorandum, Mr. Grider showed

   that, in addition to the standard conditions recommended by the Pretrial Services

   Officer:

      a. He was willing to voluntarily restrict his travel to his county of residence

          and the surrounding counties and would not travel to Washington, D.C. ex-

          cept for court proceedings related to his case;

      b. He had arranged to have his passport delivered to the court for self-surren-

          der;

      c. He had submitted to the court three potential third-party custodians in-

          cluding his wife, and a neighbor; and

      d. He had previously arranged to have all firearms and ammunitions removed

          from his home.

   Id. Additionally, Mr. Grider submitted letters from twenty-two (22) individuals

   including family members, the pastor of his church, parishioners of his church,

   neighbors, employees of his winery, fellow business owners in the community, and

   friends of many years, all who attested that Mr. Grider was a loving and caring

   individual and was, in no way, a danger to the community or others. Id.

7. On January 27, 2021, Judge Hightower held the detention hearing by Zoom vide-

   oconference. A transcript of the hearing is attached hereto as Exhibit A.

8. The Government moved forward only on the “grounds of dangerousness,” called



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   no witnesses to testify, and relied solely on “the nature and circumstances of the

   offense as laid out in the complaint.” Detention Hearing (hereafter “DH”) at 6.

9. Mr. Grider, after confirming that Judge Hightower had received and reviewed

   both the Pretrial Services Report and his Memorandum in Support of Pretrial Re-

   lease, proffered testimony from four witnesses appearing by Zoom:

      a. Ryan Ford, a neighbor to Mr. Grider and a former county commissioner,

         who would testify that, in the over 7 years that he had known Mr. Grider

         both in a personal and professional capacity, he had “never seen Mr. Grider

         exhibit any behaviors or speech that could be even remotely considered

         threatening or harmful to anyone.” DH at 8.

      b. Michelle Tyler, a friend and professional acquaintance, who would testify

         that Mr. Grider “has an upstanding character, [and] is a devoted husband

         and father.” DH at 10.

      c. Christopher Johnson, the “super-max ultra-protective” brother of Mr.

         Grider’s wife, who would testify that in all the years Mr. Grider and Mr.

         Johnson’s sister had been together, he saw that Mr. Grider is “not a dan-

         gerous person. He is peaceful and he is loving.” DH at 10–11.

      d. Rissa Shaw, a television reporter for KWTX TV News 10 in Waco, Texas,

         who interviewed Mr. Grider during and immediately after the events of

         January 6 at the U.S. Capitol. DH at 12–16. Mr. Grider offered, and Judge

         Hightower admitted a video of her news story from January 6 which in-

         cluded videos from Mr. Grider speaking about what happened that fateful



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           day. See DH at 13; Exhibit B for DH.4 Mr. Grider then proffered that Shaw

           would testify that as she spoke to Mr. Grider to prepare her story, he was

           clear, calm, and most importantly “did not at any point ever think that he

           was a threat to anyone” or “engaged in any violent acts.” DH at 14. She

           would have testified that “there was never any indication of him acting ma-

           niacally or espousing radical views, or anything of the sort.” DH at 14. Shaw

           would also have testified that, aside from her interactions with him that

           day, she had known Mr. Grider before then and knew him to help others

           including helping troubled teens from broken homes within their commu-

           nity. DH at 15. Based on everything she knew about Mr. Grider and what

           she observed, she did not believe that he was a danger to the community in

           any way. DH at 16.

10. At the conclusion of the hearing, the Government argued that Mr. Grider “was at

    the front line, breaching a secure location with violence after disrupting Congress

    performing a constitutional duty.” DH at 17. It then pointed to events that alleg-

    edly took place at the Speaker’s Lobby door within the Capitol Building, arguing

    that Mr. Grider gave a helmet to another person “who had already tried to breach

    those doors” and ultimately this other person did “smash the doors,” and that Mr.

    Grider himself tried to push open the doors. Id. It then argued that Mr. Grider

    was part of the “causal chain of events that led to the death of an individual,”




4For ease, Mr. Grider has made a duplicate copy of Exhibit B offered and admitted at the Detention
Hearing available here: https://app.box.com/s/t9wbn40zto4csht79qjgt9f9kzl1g5fo.

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   namely, Ashli Babbitt. Id. Repeatedly, the Government argued that Mr. Grider

   was an active participant in violent acts. See DH at 17, 19.

11. Mr. Grider responded by arguing that there was no evidence that he traveled to

   Washington, D.C. with the intent to commit any violent act or crime and deeply

   regretted what occurred that fateful day. DH at 20. As for what happened at the

   Speaker’s Lobby doors, he argued that there was no evidence that he actively par-

   ticipated in trying to force the doors open nor did he do anything that could be

   construed as contributing to Ms. Babbitt’s death. DH at 22.

12. After argument, although Judge Hightower found that Mr. Grider was not a flight

   risk, she concluded based on the weight of the evidence against him and the nature

   and circumstances of the alleged offense, the Government had proven by clear and

   convincing evidence that there was no condition or combination of conditions to

   ensure the safety of the community. DH at 25–26. She specifically noted, the evi-

   dence did not show that he was a “member of the crowd on January 6,” but rather

   the evidence was strong that he “supplied the helmet used to break the speaker’s

   lobby doors,” and that he “pushed and kicked on those doors in attempt (sic) to

   breach the House chambers.” DH at 25. She subsequently issued her detention

   order finding that Mr. Grider was “a leading participant in the offenses charged

   inside the United States Capitol Building on January 6, 2021.” (Doc. No. 14 in

   Case No. 21-mj-00033-SH in the Western District of Texas, Austin Div.; Exhibit

   B [attached]).

13. Shortly after the conclusion of the detention hearing, counsel for Mr. Grider began



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   searching the internet for the video that the Government had taken “still shots”

   from and included in their complaint to fit their narrative. (See Doc. No. 17 in Case

   No. 21-mj-00033-SH in the Western District of Texas, Austin Div. — Defendant’s

   Motion to Reopen the Detention Hearing; Exhibit C [attached]). Although he had

   been unable to locate it prior to the detention hearing, counsel for Mr. Grider dis-

   covered      the   video     located    at    the     following     web     address:

   https://www.youtube.com/watch?v=PfiS8MsfSF4. Id. As Mr. Grider submitted in

   his motion to reopen the detention the hearing, contrary to Judge Hightower’s

   conclusion and the representations made by the Government at the detention

   hearing, in the portions of that video purportedly depicting Mr. Grider, he did not

   appear to be a “leading participant” and, more importantly, did not appear to be

   engaged in a “forceful and continued attempt to breach the doors to the Speaker’s

   Lobby.” Id. Mr. Grider further expressed concerns “about the Government’s effort

   to show [Judge Hightower] only the pieces of the puzzle needed to fit their narra-

   tive.” Id.

14. The following day, January 28, 2021, Judge Hightower issued a written order

   denying the motion to reopen the detention hearing. (Doc. No. 18 in Case No. 21-

   mj-00033-SH in the Western District of Texas, Austin Div.; Exhibit D [attached]).

   In explaining her decision, Judge Hightower noted the following:

      This information has no material bearing on the factors on which the
      detention order was based: the nature and circumstances of the offenses
      charged, including whether the offense is a crime of violence; the weight
      of the evidence against Mr. Grider; and the nature and seriousness of
      the danger to the community that would be posed by his release. 18
      U.S.C. § 3142(f). Stated differently, whether or not he led or encouraged


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      others in the alleged commission of the offenses charged, there is ex-
      tremely strong evidence that Mr. Grider participated at the forefront in
      the events that led to the fatal shooting inside the Capitol Building on
      January 6, 2021.

   Id. (emphasis added).

15. Despite this ruling, counsel for Mr. Grider continued to investigate the incident

   and locate additional evidence to correct the false belief maintained by the Gov-

   ernment and Judge Hightower.

16. On February 1, 2021, Mr. Grider filed his Second Motion to Reopen the Detention

   Hearing. (Doc. 22 in Case No. 21-mj-00033-SH in the Western District of Texas,

   Austin Div.; Exhibit E [attached]). Mr. Grider noted that since federal agents had

   seized his cell phone, he did not have immediate access to the photographs and

   videos contained on it at the detention hearing. Id. His counsel, subsequent to the

   detention hearing, however, was able to locate backup copies of the files on one of

   Mr. Grider’s computers. Id. The videos reflect the following:

      a. In a video file titled, IMG_1878.m4v, Mr. Grider is seen walking up to an

         entrance on the ground level of the Capitol building and walking through

         an open door along with hundreds of other individuals. While other individ-

         uals nearby shattered glass windows, there is no obvious indication that

         the door which Mr. Grider walked through along with hundreds of others

         was opened by force and there was clearly no forcible entry made by Mr.

         Grider.

      b. In a video file titled, IMG_1883.m4v, Mr. Grider is seen walking up to the




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  entrance to the Speaker’s Lobby where multiple Capitol Officers are stand-

  ing guard. Mr. Grider did not yell, shout, or make any threatening com-

  ments to them. Instead, he is heard telling the officers, “People are going to

  get crushed on that other side if they don’t open that door” (referring to

  another area from where he had just come from). He was pleading with the

  officers, telling them, “There are two cops getting crushed.” Others can then

  be seen walking up and banging on the doors, but not Mr. Grider. Eventu-

  ally, more and more people began approaching the door and, as space be-

  came confined, the video no longer captured any images. However, the au-

  dio still recorded and, at no time, could Mr. Grider be heard making any

  threatening comments or directing anyone to try and break open or damage

  the doors or do       anything    else. The video can be seen here:

  https://app.box.com/s/1efe2q4mloibgpbhjrzqb48bnjxvrci2.

c. In addition to the photographs and videos obtained from Mr. Grider’s

  phone, counsel for Mr. Grider also, subsequent to the detention hearing and

  his first motion to reopen the detention hearing, located an additional

  YouTube video showing what takes place at the Speaker’s Lobby from a

  different angle: https://youtu.be/AZ9oThRuMVs. Worth noting in this video

  is that, as officers were moving away from the door, Mr. Grider was follow-

  ing them away from the door as well while others attempted to forcefully

  open it. Further, when the person who was presumably Ashli Babbitt began

  attempting to climb through the window to the Speaker’s Lobby, Mr. Grider



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           had his back turned and was continuing his attempt to move away from the

           doors.

17. All this new material corroborates what Mr. Grider has maintained all along. Con-

    trary to the finding by Judge Hightower, his presence at the Capitol was not one

    of a person who intended to inflict harm on anyone or commit any violent acts. He

    was not a “leading participant” nor did he “participate at the forefront of the

    events that led to the fatal shooting inside the Capitol Building.”5

Legal Standards

18. “To begin with, it is clear beyond cavil that, before a guilty plea or conviction,

    ‘liberty is the norm and detention prior to trial or without trial is the carefully

    limited exception.’” United States v. Wiggins, No. 19-CR-258-KBJ, 2020 WL

    1868891, at *3 (D.D.C. Apr. 10, 2020)(quoting United States v. Salerno, 481 U.S.

    739, 755, 107 S. Ct. 2095, 95 L. Ed. 2d 697 (1987)).

19. One of those exceptions applicable here is where a court “finds that no condition

    or combination of conditions will reasonably assure the appearance of the person

    as required and the safety of any other person and the community.” 18 U.S.C. §

    3142(e)(1) (West 2020). To make this determination, a court must evaluate four

    factors: (1) “the nature and circumstances of the offense charged”; (2) “the weight

    of the evidence against the person”; (3) “the history and characteristics” of the

    defendant; and (4) “the nature and seriousness of the danger to any person or the



5Judge Hightower denied this second motion without considering the merits of the new evidence pre-
sented, finding that she no longer had jurisdiction over the matter. (Doc. No. 25 in Case No. 21-mj-
00033-SH in the Western District of Texas, Austin Div.).

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   community that would be posed by the person’s release.” 18 U.S.C § 3142(g) (West

   2020). “Consequently, a criminal defendant can only be detained pending trial

   consistent with the Bail Reform Act if, on balance, those four factors weigh in favor

   of detention, such that the court can confidently conclude that no condition or

   combination of conditions ‘will reasonably assure the appearance of the person as

   required and the safety of any other person and the community.’” Wiggins, 2020

   WL 1868891, at *4 (quoting 18 U.S.C. § 3142(e)(1)).

20. “If a person is ordered detained by a magistrate judge . . . the person may file, with

   the court having original jurisdiction over the offense, a motion for revocation or

   amendment of the order.” 18 U.S.C. § 3145(b) (West 2020). The motion shall be

   determined promptly and this Court’s review of the magistrate’s order of detention

   is reviewed de novo. United States v. Hunt, 240 F. Supp. 3d 128, 132 (D.D.C. 2017).

Danger to the Community is not Sufficient to Order Detention

21. At the outset, while Mr. Grider disputes Judge Hightower’s determination that no

   condition or combination of conditions will reasonably assure the safety of any

   other person and the community in his case, this Court must consider whether

   that finding alone is sufficient to warrant detention. Stated differently, although

   Judge Hightower found that Mr. Grider was not a flight risk, could she legally

   order him detained solely because she found he was a danger to the community?

22. As one federal magistrate judge has recently recognized, “The law is unclear re-

   garding whether a judge may detain a defendant in such a case solely because the

   defendant is such a danger to the community that no conditions can reasonably



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   assure public safety.” United States v. Gibson, 384 F. Supp. 3d 955, 960 (N.D. Ind.

   2019). In Gibson, Judge Kolar noted multiple opinions that had interpreted Sec-

   tion 3142(f) as not permitting detention solely on a finding of dangerousness to

   the community. Id. at 960–62 (citing United States v. Himler, 797 F.2d 156, 160

   (3d Cir. 1986); United States v. Chavez-Rivas, 536 F. Supp. 2d 962 (E.D. Wisc.

   2008); United States v. Byrd, 969 F.2d 106, 109–10 (5th Cir. 1992); United States

   v. Ploof, 851 F.2d 7 (1st Cir. 1988)); but cf. United States v. Holmes, 438 F. Supp.

   2d 1340 (S.D. Fla. 2005); U.S. v. Ritter, 2:08PO00031-53, 2008 WL 345832, at *2

   (W.D. Va. Feb. 6, 2008)). This interpretation is consistent with what the Fifth Cir-

   cuit recently stated when it noted that “the imposition of ‘preventive [pretrial]

   detention’ is ‘abhorrent to the American system of justice.’” ODonnell v. Harris

   Cty., 892 F.3d 147, 158 (5th Cir. 2018).

23. Mr. Grider submits that Judge Hightower’s order on its face was invalid as, based

   on the foregoing authority, Section 3142(f) does not permit detention solely on a

   finding of dangerousness to the community. See Gibson, 384 F. Supp. 3d at 962–

   64 (noting that to interpret otherwise would run afoul of the constitutional con-

   cerns under the Due Process Clause of the Fifth Amendment and the Eighth

   Amendment’s ban on excessive bail as discussed in Salerno).

There is No Clear and Convincing Evidence of Danger to the Community

24. Even if this Court were to interpret Section 3142(f) as permitting a criminal de-

   fendant’s detention solely on the grounds that they are a danger to the community,

   Mr. Grider would submit that nothing about him, the nature and circumstances



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    of the offenses charged, or the weight of the evidence against him establishes

    clearly and convincingly that he is a danger to the community.

25. Mr. Grider is not a member of the Three Percenters, Proud Boys, Oath Keepers or

    any other right-wing extremist group. He does not subscribe to the beliefs of

    QAnon or other conspiracy theories related to the government. People belonging

    to and affiliated with these groups, along with several others who were not, re-

    portedly came to Washington, D.C. on January 6, 2021 with the intent to do harm

    to our Nation’s Capitol and to lead an insurrection. 6 Mr. Grider was not one of

    those people.

26. As reflected in the Pretrial Services Report and his Memorandum in Support of

    Pretrial Release, Mr. Grider is a loving father of three young boys, devoted hus-

    band, and owner of a vineyard and winery in Central Texas. He has never been

    accused of a single violent act or crime in his entire life.

27. The multiple letters presented to Judge Hightower and the witnesses who ap-

    peared before her repeatedly affirmed that Mr. Grider is a non-violent person who

    loves and cares for his family and people throughout his community, accounts

    given with a verifiable basis for stating so based on their experience and

    knowledge of him.

28. It cannot be overlooked that, even though the United States Pretrial Services Of-




6Funke, Daniel, “FBI investigation of Capitol riot focuses on far-right groups,” PolitFact, January 20,
2021 <available at https://www.politifact.com/article/2021/jan/20/fbi-investigation-capitol-riot-fo-
cuses-far-right-g/> (last visited January 31, 2021).

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   fice recommended Mr. Grider’s release on an unsecured bond with standard con-

   ditions of release, he was willing to go above and beyond and voluntarily abide by

   additional conditions needed to assure the court that he was not a flight risk or

   danger to the community.

29. The events of January 6, 2021 at the United States Capitol Building were un-

   doubtedly tragic and shocking. As Mr. Grider stated, he simply went to Washing-

   ton, D.C. because “The President asked people to come and show their support. I

   feel like it’s the least we could do. That’s kinda why I came from Central Texas all

   the way to D.C.” See Exhibit B to DH. He never expected, nor anticipated that it

   would turn into what it did.

30. The Government only presented limited bits of evidence to piece together a narra-

   tive implying that Mr. Grider was a violent protestor who forced his way into the

   Capitol Building, then tried to force his way into the House Chamber, was at the

   forefront of the push to breach the Speaker’s Lobby doors, and ultimately part of

   the causal chain of events that led to the death of Ashli Babbitt. Evidence discov-

   ered by counsel from Mr. Grider subsequent to the detention hearing — exculpa-

   tory evidence presumably in the possession of the Government from the outset —

   proves quite the opposite.

      a. Videos from Mr. Grider’s phone show him walking up to the Capitol Build-

         ing along with hundreds of others. Mr. Grider, like several others, simply

         followed a group through an open door where several others were already

         inside and roaming around.



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      b. As discussed supra, an additional video from Mr. Grider’s phone, a video

         file titled, IMG_1883.m4v, shows him walking up to the entrance to the

         Speaker’s Lobby where multiple Capitol Officers are standing guard. Mr.

         Grider made no threatening comments. He is not heard directing anyone to

         try and break open the doors. Rather, he expressed concern for others in-

         cluding other officers who were” getting crushed.”

      c. While the Government included in its complaint a copy of a still shot from

         a video available on YouTube with Mr. Grider’s hand on the Speaker’s

         Lobby door to imply he was trying to force the door open, when one watches

         the entire video and others available and referenced in his motions to reo-

         pen the detention hearing, it is apparent what Mr. Grider’s true intentions

         were: to get out of an escalating situation. As shown in the video located at

         https://youtu.be/AZ9oThRuMVs, as officers moved away from the Speaker’s

         Lobby door, Mr. Grider followed them away from the door as well. Further,

         when the person who is presumably Ashli Babbitt began climbing through

         the window to the Speaker’s Lobby, Mr. Grider had his back turned and

         was continuing his attempt to move away from the doors.

31. There is no evidence that Mr. Grider conspired with others to do harm at the Cap-

   itol. There is no evidence that he threatened any public officials. There is no evi-

   dence he entered either of the Legislative Chambers or the private offices of any

   legislators. There is no evidence he used any force against any public servant.

32. Mr. Grider deeply regrets what took place on that tragic day at the United States



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    Capitol. But nothing about his alleged acts, his history, and characteristics estab-

    lishes that he is of such a danger to the community that he needs to be detained

    pending trial in his case.7 The evidence presented by him, on the contrary, estab-

    lishes by clear and convincing evidence that he is not a danger to the community.

Mr. Grider’s Detention During the COVID-19 Pandemic

33. This Court has recognized “the unprecedented magnitude of the COVID-19 pan-

    demic and the extremely serious health risks that it presents for all of us, includ-

    ing, and perhaps especially, those individuals who are unfortunately presently

    detained in federal custody.” Wiggins, 2020 WL 1868891, at *8. Although since

    this Court’s ruling in Wiggins, multiple vaccines have been developed to contain

    the spread of COVID-19, the virus continues to spread — and kill — at an alarm-

    ing rate. Furthermore, scientists are now concerned about mutations of the virus

    spreading at a much-higher rate.8

34. This Court has recognized the need for courts to “determine, on an ad hoc, case-

    by-case basis, whether [a] detained defendant who files a motion for release on the




7 Cf. e.g. United States v. Wilmar Jeovanny Montano Alvarado, Case No. 1:21-mj-00169-GMH-1,
granted pretrial release in the Southern District of Texas, Houston Division, Case No. 4:21-mj-00207
(where defendant is charged with inter alia Assaulting Resisting or Impeding Certain Officers or Em-
ployees); United States v. Tam Dinh Pham, Case No. 1:21-mj-00116-ZMF, granted pretrial release in
Southern District of Texas, Houston Division, Case No. 4:21-mj-00134-1 (where defendant, a Houston
Police Department, charged with Violent Entry and Disorderly Conduct on Capitol Grounds); United
States v. Joshua Loller, 1:21-mj-00045-ZMF-1, granted pretrial release in Southern District of Texas,
Houston Division, Case No. 4:21-mj-00086 (where defendant, a Houston Police Department, charged
with Violent Entry and Disorderly Conduct on Capitol Grounds)
8See Johnson, Carolyn Y. and Wan, William, “Mutated Virus May Reinfect People Already Stricken
Once with Covid-19, Sparking Debate and Concerns,” Washington Post, February 5, 2021 <available
at https://www.washingtonpost.com/health/2021/02/05/virus-variant-reinfection-south-africa/> (last
visited February 8, 2020).

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      basis of COVID-19 can be let out jail consistent with the dictates of the law.” Wig-

      gins, 2020 WL 1868891 at *8.

35. Section 3142(g)(3)(A) requires a court to consider the physical and mental condi-

      tions of a person when deciding whether there are conditions of release that will

      reasonably assure the appearance of the person as required and the safety of any

      other person and the community. 18 U.S.C. § 3142(g)(3)(A) (West 2020).

36. As reflected in the Pretrial Services Report, Mr. Grider suffers from asthma and

      is prescribed and takes albuterol to help keep his asthma under control. The Cen-

      ters for Disease Control has identified people with moderate to severe asthma as

      having a “higher risk of getting very sick from COVID-19.”9

37. To “prepare for COVID-19,” the CDC has recommended the following for people

      with moderate to severe asthma:

          •    Make sure that you have at least a 30-day supply of your medicines.

          •    Take everyday precautions like washing your hands, avoiding close contact,

               and staying at least 6 feet (about 2 arm lengths) from other people.

          •    Wear masks in public settings and when around people who don’t live in

               your household.10

          •    Wash your hands often with soap and water for at least 20 seconds or use

               hand sanitizer that contains at least 60% alcohol.

38. Despite these recommendations, Mr. Grider has experienced the following since


9https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/asthma.html (last visited Febru-
ary 8, 2020).
10   In the multiple videos submitted as evidence in this case, Mr. Grider was wearing a mask.

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     he has been in federal custody:

        •    He has not consistently received his albuterol and has certainly not been

             provided with “at least a 30-day supply” of that medication.

        •    There have been multiple instances where he has been in close contact with

             other inmates.

        •    There have been multiple instances when other inmates around him have

             not worn masks.

        •    There have been multiple instances where he has not been provided access

             to soap and water or hand sanitizer.

39. Applying the ad hoc, case-by-case approach that this Court has adopted, Mr.

     Grider submits that the current health crisis resulting from the COVID-19 virus

     and its variants, combined with his personal health condition of suffering from

     asthma, require this Court to strongly consider and order his release from custody.

Conditions of Release

40. There are several conditions of release that have not been previously recom-

     mended that Mr. Grider is voluntarily willing to abide by to guarantee this Court

     that he will not be a flight risk or danger to the community including, but not

     limited to,

        •    Home curfew with GPS ankle monitoring;

        •    Daily “check-in’s” with local law enforcement11;


11As noted in one of the letters submitted along with his Memorandum in Support of Pretrial Release,
Mr. Grider has previously donated and helped gather donations for the local police department, the
Bruceville-Eddy Police Department, and has no doubts that they will assist this Court in ensuring
that Mr. Grider follows any conditions of release.

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      •    Consent to search his home, business, and vehicles for contraband; and,

      •    Psychological assessment and treatment, if necessary.

Conclusion

      Mr. Grider did not come to Washington, D.C. to do harm or participate in an

insurrection. He did not come here to do violence. He never anticipated that what

occurred that fateful day would have occurred and he wishes that it never did.

      Despite whatever the evidence shows he did or did not do at the United States

Capitol, the fact remains is that Mr. Grider is not a violent or dangerous person.

Every action of his life proves that and nothing that occurred in that maelstrom in

the Capitol Building on that fateful day proves differently. He no longer cares about

politics or who is President of the United States. All he cares about is what has always

mattered most to him: his family, his business, his community, and his church. It is

time to let him return to them and, accordingly, he is respectfully requesting this

Honorable Court revoke his order of detention and order him to be released on any

conditions this Court deems appropriate.

Date: February 11, 2021                 Respectfully Submitted,

                                        MAYR LAW, P.C.

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                                      ATTORNEY FOR THE DEFENDANT,
                                      CHRISTOPHER RAY GRIDER

                                      Admitted to Appear Pro Hac Vice


                         CERTIFICATE OF SERVICE

     I certify that a true and correct copy of this motion was sent to Counsel for the

Government on February 11, 2021, via CM/ECF and email.

                                      /s/ T. Brent Mayr
                                      T. BRENT MAYR




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